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                                                                      r      MAY 2^2016
                                                                          JAMESN, HATTEN, Clerk
                 IN THE UNITED STATES DISTRICT COURT                         «^^l>7^
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA,

V.
                                             CRIMINAL ACTION
KEVIN M . SULLIVAN,
                                             NO. l:15-CR-290-MHC-CMS
      Defendant.


           ORDER AND REPORT AND RECOMMENDATION OF
               UNITED STATES MAGISTRATE JUDGE

      On August 5, 2015, a Grand Jury sitting in the Northem District of Georgia

retumed a two-count indictment against Defendant Kevin M . Sullivan for charges

relating to the receipt and possession of the visual depiction of a minor engaging in

sexually explicit conduct. (Doc. 11). This case is before the Court on Defendant's

Motion to Suppress and Supplemental Motion to Suppress (Docs. 26, 33) in which

he argues that the warrant used by law enforcement to search his office at Emory

University did not satisfy the particularity requirement of the Fourth Amendment.^




        Also pending is Defendant's Motion for Bill of Particulars and for Further
Rule 16 Discovery and Brady Information. (Doc. 27). Defense counsel has
informed me that this motion has been resolved, and accordingly it will be denied
as moot.
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As discussed below, I RECOMMEND that Defendant's motions to suppress be

DENIED.

                         I.    F A C T U A L BACKGROUND

      On February 22, 2016, I conducted an evidentiary hearing on Defendant's

Motion to Suppress. (Doc. 38, Transcript ["Tr."]). At the hearing, the Govemment

presented the testimony of Sara Thomas, a special agent with the Georgia Bureau

of Investigation ("GBI") who also serves as a task force agent with Homeland

Security Investigations ("HSI"). ( I d at 11). The Govemment also called Matthew

Heath, a digital forensic investigator with the GBI child exploitation and computer

crimes unit. (Id. at 61-62).

      Agent Thomas testified that the investigation leading to Defendant's

indictment arose out of a criminal investigation in Switzerland in which a

computer server was seized, leading investigators to a child pomography website

and a long list of Intemet Protocol ("IP") addresses. (Tr. at 12-13). Agent Thomas

explained that an IP address is assigned by the intemet service provider and can

show the location where a certain device is at the time it accesses the Intemet. (Id.

at 13). The IP address stays within a location, such as in a building.    (Id. at 14).

Swiss law enforcement officers used the list of IP addresses to determine the

locations where child pomography was being uploaded and downloaded. (Id. at

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13) . The Swiss officials sent information regarding the IP addresses in the United

States on the list to the HSI Cyber Crimes Center in Washington, D.C. (Id.).

        Ultimately, the investigation into one IP address on the list led U.S. law

enforcement to Emory University in Atlanta, Georgia. (Tr. at 14). At that time,

federal agents contacted      Emory University, which        cooperated   with   the

investigation. (Id.). With Emory's assistance, the investigators determined that the

public wireless network in Emory's Claudia Nance Rollins Building (the "Rollins

Building") was being used to facilitate the downloading of the child pomography.

(Id. at 15-16). They were also able to identify the specific Media Access Control

address ("MAC address") of the device that had downloaded child pomography as

well as the name associated with that device: "Kev-HP." (Id. at 14-15). Agent

Thomas testified that a MAC address is unique to each particular device. (Id. at

14) .   If, for example, someone accesses the Intemet on her phone in multiple

locations, the IP address will change based on the different places where she

accesses the Intemet, but the phone's MAC address will not change. (Id. at 15). At

this point in the investigation, law enforcement knew that someone was using the

public wireless intemet within the Rollins Building to access child pomography,

and they knew the MAC address for the device was "Kev-HP"; they did not know,




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however, where the device was located within the building or who was using it.

( I d at 16).

        After receiving this information, Agent Thomas spoke with other agents who

informed her of the existence of a device called a "sniffer" that could be used in an

area to limit the search and to help identify the location of a certain device with a

particular MAC address. (Tr. at 16). Agent Thomas testified that, "Just like a dog

sniffs out for a certain smell, this device sniffs out for certain packets being

transmitted from a device to the wireless network." ( I d at 17-18). Agent Thomas

testified that unlike a "triggerfish" or similar system that forces a signal or mimics

a cell phone tower, the sniffer does not interfere with, or interrupt the flow of,

electronic communications. ( I d at 18-19). For a sniffer to work, the device it is

looking for must be tumed on. ( I d at 19).

        On June 5, 2015, Agent Thomas obtained a search warrant from the Superior

Court of DeKalb County, Georgia. (Tr. at 16). The application for the warrant

contained a lengthy, detailed swom statement by Agent Thomas that summarized

the evidence that her investigation had revealed. (Doc. 33-1, Search Warrant, at 4-

16). It set forth the history of the investigation and the evidence that led law

enforcement to the Rollins Building. ( I d at 5-9). The affidavit described the plan

to use a sniffer to "identify the wireless device associated with the suspect MAC

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address, '68:a3:c4:e2:6a:7e', that has been identified in this investigation." (Id. at

9, Tr. at 34). The actual warrant, however, did not mention the sniffer; rather, it

authorized the search of the entire building, without limitation and without

reference to the sniffer. (Doc. 33-1 at 1-2). The location listed on the warrant is

"Emory University's Claudia Nance Rollins Building, School of Public Health,

401 Rollins Way in Atlanta, DeKalb County, Georgia. See attached picture. . . ."

(Id. at 1). The picture attached was an outside photograph of the entire building.

(Tr. at 30-31). The warrant instructed agents to search for a number of items,

including a "wireless device containing the Medial [sic] Access Control (MAC)

address '68:a3:c4:e2:6a:7e.'" (Doc. 33-1 at 1).

      Four days later, on June 9, 2015, Agent Thomas and her team went to Emory

University with the intention of executing the search warrant. (Tr. at 29). When

they arrived, however, they leamed that the device was not being used to access

the network at that time. (Id. at 21, 22). While at Emory, they met with an Emory

IT specialist, Derek Spransy, who provided additional information. (Id. at 20).

Mr. Spransy confirmed that the name of the suspect device was "Kev-HP."

Mr. Spransy stated that he had located three people named "Kevin" who worked at

Emory, one of whom—^Defendant Kevin Sullivan—worked in the Rollins

Building, in Room 3051. ( I d at 20-21, 39). He stated that Sullivan was not in the

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office that day and was on leave for the entire week. (Id. at 21). During the June 9

meeting, Mr. Spransy also reported that he had determined that the device in

question had frequently visited certain wireless access points within the building,

one directly below Sullivan's office (Room 2051), and one directly next to

Sullivan's office (Room 3049). ( I d at 21, 51). Later that week, Mr. Spransy

informed the agents that the suspect device had not accessed Emory's wireless

network that entire week. (Id. at 21).

       When asked on cross-examination about why law enforcement did not

obtain a more particularized warrant after this additional information was acquired,

Agent Thomas testified that despite the new information from Mr. Spransy, her

team still did not know whether Defendant Sullivan was involved, and she did not

consider him to be a suspect at that time. (Tr. at 39, 51-52). She pointed out that

the area around the identified access points was an "open area" where both

students and professors could be (implying that the operator of the device was not

necessarily located in a particular faculty office), and that sometimes people buy

computers and other devices from other people (implying that the computer name

"Kev-HP" could be operated by anyone, not necessarily a person named Kevin).

( I d at 40; Doc. 33-1 at 8).




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      Six days later, on June 15, 2015, Agent Thomas received a call from Emory

University indicating that the suspect device was utilizing the network that day, at

which point Agent Thomas assembled her team, went to the Rollins Building, and

executed the warrant. (Tr. at 22-23, 41). Two sniffers were used, one by a GBI

investigator and the other by a detective from the DeKalb County Police

Department. (Id. at 23). The sniffer operators split up, going to the second and

fourth floors in an attempt to locate the device, and both reported no readings on

their respective floors. (Id. at 24). They then moved to the third floor where they

obtained readings near Defendant's office. ( I d at 24-25). Although there were

multiple offices on the third floor, the strongest readings were coming from

Defendant's office. ( I d at 26).

      Defendant's office has clouded glass windows, the door was locked, and

there was a yellow sticky note on the door that read, "Please do not unlock door."

(Tr. at 26). Agent Thomas knocked on the door, and then she heard "a bang and a

click" and a male voice asking who was knocking. ( I d ) . At that point, the sniffer

lost the signal. ( I d at 53, 59). Agent Thomas said, "Mr. Sullivan, I need to speak

with you." ( I d at 27). Defendant came to the door and opened it slightly. Agent

Thomas identified herself as a special agent with the GBI, informed him that they

were executing a search warrant, and asked i f she could speak with him. (Id).

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Defendant asked i f he was under arrest, and Agent Thomas said that he was not

under arrest but that she wanted to speak with him. (Id.). Defendant exited his

office and went with Agent Thomas to a room on the opposite side of the building.

(Id. at 28).   The interview did not last long.      After Agent Thomas advised

Defendant of his Miranda rights, he asked to speak with an attomey. (Id.).

      Meanwhile, other members of the investigation team conducted a search of

Defendant's office, where they located the computer with the MAC address that

they were looking for. (Tr. at 28). A forensic preview of an extemal hard drive

connected to the laptop with the suspect MAC address revealed child pomography.

(Id. at 53-54). The agents seized two laptop computers (one of which was the

suspect device), a desktop computer, a cell phone, "a few" flash drives, and the

external hard drive. ( I d at 28-29).

      On cross-examination, defense counsel asked whether the agents thought

about obtaining a new, more specific warrant before knocking on Defendant's

door. (Tr. at 44). Agent Thomas stated that before she got the warrant, she had

sought advice from attomeys at Homeland Security and Emory about whether the

warrant would be sufficient and had been advised that the warrant would be

sufficient for her purposes. ( I d at 44-45, 59-61). Agent Thomas also testified that

the warrant could not be narrowed in terms of location because, given the mobile

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nature of the suspect device, they did not know where they would find it at any

given time; it could have been in a student's backpack, for example, or in a faculty

member's office. ( I d at 47-48).

                                    II.      ANALYSIS

      The Fourth Amendment provides that "no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized." U.S. Const, amend.

IV. Thus, the Fourth Amendment requires that a warrant particularly describe both

(1) the place to be searched and (2) the persons or things to be seized. I d ; United

States V . Travers, 233 F.3d 1327, 1329 ( l l t h Cir. 2000).             The Fourth

Amendment's particularity requirement safeguards the individual against "the

wide-ranging exploratory searches the Framers [of the Constitution] intended to

prohibit." Maryland v. Garrison, 480 U.S. 79, 84 (1987).

      A search based on a warrant that fails to sufficiently particularize the place

to be searched or the things to be seized is unconstitutional. U.S. Const, amend.

IV. To deter such warrants and searches, any evidence so seized must be excluded

from the trial of the defendant.          Stone v. Powell 428 U.S. 465, 492 (1976)

("Evidence obtained by police officers in violation of the Fourth Amendment is

excluded at trial in the hope that the frequency of future violations will decrease.").

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      Defendant argues that the warrant was not sufficiently particularized with

respect to either the place to be searched or the things to be seized. In response,

the Govemment argues, among other things, that (1) the warrant was sufficiently

particularized, especially when viewed in combination with the supporting

affidavit and the knowledge of the agents on site when the warrant was executed

and (2) even if the warrant was invalid for some reason, the evidence still should

not be excluded because the good faith exception to the exclusionary rule applies.^




         The Govemment also makes the alternative argument that exigent
circumstances existed to justify a warrantless search. The test used to determine
whether exigent circumstances exist is an objective one: "[t]he appropriate inquiry
is whether the facts . . . would lead a reasonable, experienced agent to believe that
evidence might be destroyed before a warrant could be secured." United States v.
Tobin, 923 F.2d 1506, 1510 ( l l t h Cir. 1991) (en banc) (intemal quotation marks
omitted). The Govemment argues that Defendant could have realized that he was
aboutto be arrestedandthen couldhave destroyedthe evidencebefore agents
retumed with a search warrant. The record does not support this argument. There
is no testimony that Defendant knew he was being investigated until the agents
knocked on his office door. The testimony was that it was not until after Agent
Thomas knocked on the door that she heard "a bang and a click," which she
believed to be the sound of a laptop closing, at which point the sniffer lost the
signal. (Tr. at 53, 59). Law enforcement cannot create the exigent circumstances
and then rely on those circumstances to perform a warrantless search. See United
States V. Coles, 437 F. 3d 361, 370 (3d. Cir. 2006). Moreover, after Defendant
opened the door and was removed from his office, the agents had control of his
office without any concem about destruction of evidence. (Tr. at 90).

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      A. Particularity

      Defendant argues that the warrant in this case is not sufficiently

particularized, both with respect to the place to be searched and the things to be

seized.

       1.      The place to be searched

      The warrant provides the following description of the place to be searched:

"Emory University's Claudia Nance Rollins Building, School of Public Health,

401 Rollins Way in Atlanta, DeKalb County, Georgia. See attached picture [of the

outside ofthe Rollins Building]." (Doc. 33-1 at 1).

      A warrant sufficiently particularizes the place to be searched if the executing

officers can "with reasonable effort ascertain and identify the place intended."

Steele v. United States, 267 U.S. 498, 503 (1925); United States v. Burke. 784 F.2d

1090, 1092 ( l l t h Cir. 1986) (holding that a warrant must describe the place to be

searched with sufficient particularity "to direct the searcher, to confine his

examination to the place described, and to advise those being searched of his

authority").

      In his briefs in support of his motion to suppress, Defendant first argues that

by identifying the entire Rollins Building as the place to be searched, the warrant

fails to identify the place to be searched with sufficient particularity, noting that the

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warrant purports to authorize agents to search anywhere in the building. (Docs. 33,

39, 42).   Defendant argues that "the agents were given free reign [sic] to search

virtually any one and any thing in the largest building on campus and the court had

to rely on the agents to govem themselves." (Doc. 39 at 2). The Govemment

responds that the warrant was as specific as it could have been, given the

circumstances and nature of the investigation. (Doc. 40 at 7).

      Defendant argues that the warrant could have been more narrowly tailored

based on the information the agents acquired from Mr. Spransy, but the record

does not support this position. Agent Thomas testified that when the agents

applied for the warrant, Defendant was not a confirmed suspect. (Tr. at 40, 51,

52). And, even i f Defendant were a suspect, the record does not reflect that the

search could have been more limited because it was not known whether the device

was located in an office, or in a backpack, or at any other place within the building.

(Id. at 47-48). Even though certain floors in the building may have been of more

interest to the investigators as they began their search, the agents could not mle out

any portion of the building until they actually used the sniffer.

      The Eleventh Circuit approved a similar warrant in United States v.

Rousseau, 628 F. App'x 1022 ( l l t h Cir. 2015). Like the present case, Rousseau

involved someone accessing an open wireless network at a workplace to download

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child pomography. I d at 1024.      The wireless network in Rousseau covered the

front portion of a fire station where emergency vehicles were housed. The warrant

described the property to be searched very broadly, as, among other things, any

computers, data storage devices, and cellular telephones found in the fire station.

Id. at 1026.   In rejecting the defendant's contention that the warrant was not

sufficiently particular in terms of the location to be searched, the Eleventh Circuit

stated:

      To the extent the descriptions did not identify a specific location
      within the Station or specific item (such as a particular computer or
      cell phone), they were as specific as the circumstances and nature of
      the activity being investigated would permit. The agents were
      investigating the downloading and sharing of child pomography using
      an IP address registered to the Station and an open wireless network
      accessible inside the Station. The investigators did not know which or
      how many Station employees might be involved in the activity, much
      less which computers or electronic storage devices in the Station were
      being used. The warrant made clear that a search of the computers
      required the seizure of "most or all computer items" to perform the
      search thoroughly, and that "on-site evidentiary previews" would be
      conducted to minimize the burden on individuals and devices that
      were not involved in the illegal activity. The warrant also only
      authorized the seizure of items that were "[ejvidence of possession,
      receipt, and distribution of child pornography."

Id. at 1027. In some respects, the warrant in Rousseau, which authorized a search

of every computer and cell phone in the fire station, was broader than the warrant

for the Rollins Building in this case. The fact that the Eleventh Circuit approved of

the warrant in Rousseau, therefore, weighs in favor of finding that the warrant's
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description of the entire Rollins Building as the place to be searched was

sufficiently particular to satisfy the Fourth Amendment.

      Defendant's concerns about the risk that law enforcement would perform a

general search of everyone and everything in the Rollins Building pursuant to the

warrant are allayed by the fact that the affidavit describes how a sniffer works and

indicated that the agents intended to use the sniffer to perform a focused, targeted

search to locate the suspect device. The Eleventh Circuit has held that under

similar circumstances, a court can consider the content of a supporting affidavit

when ruling on a Fourth Amendment challenge to a warrant. See United States v.

Martinelli, 454 F.Sd 1300, 1308 ( l l t h Cir. 2006) (holding that a warrant was not

overbroad due to failure to identify the crimes being investigated because the

information about the crimes was contained in an affidavit attached to the warrant);

United States v. Ellis, 971 F.2d 701, 704 ( l l t h Cir. 1992) (implying that the

incorrect name on a warrant could have been cured i f the correct name had

appeared in the affidavit or i f the officers had previously observed the premises).

Additionally, the detailed list of items to be searched for, including the precisely-

described   suspect device, along with        items showing evidence       of child

pomography, provided additional assurances that the searchers would understand

where they were allowed to search. See Rousseau, 628 F. App'x at 1025-26.

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Finally, the fact that Agent Thomas was present during the execution of the

warrant further lessened the risk that the agents would conduct a broad, general

search. See Burke, 784 F.2d at 1092-93 (holding that errors in the description of

the place to be searched in the warrant were cured by the fact that the agent knew

precisely which premises were to be searched and pointed out the correct

apartment to the executing officer so that there was no possibility the wrong

premises would be searched).    Under the circumstances, there was little risk of the

type of wide-ranging exploratory search that the Fourth Amendment guards

against. Nor was there a risk that non-targets would mistakenly be subject to

search, given the non-intrusive investigative techniques being employed by the

agents. See United States v. Johnson, 290 F. App'x 214, 221-22 (11th Cir. 2008).

      Defendant next argues that even if the warrant was sufficient to authorize the

sniffer search of the entire building, the agents exceeded the warrant's authority by

entering Defendant's office. According to Defendant, the agents should have

applied for a second warrant before searching his office.          (Doc. 42 at 4).

Defendant argues that "[a]t any point during the 10 days that the agents conducted

their investigation to narrow the search, including the moment that they were

standing outside of [Defendant's] office door, they could have easily obtained a




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subsequent warrant to further narrow the search but they failed to do so." (Doc. 39

at 6).

         In support of this argument, Defendant relies upon a recent U.S. Supreme

Court case, Florida v. Jardines, _U.S._133 S. Ct. 1409 (2013), that dealt with the

use of drug sniffing dogs without a warrant. In Jardines, the Supreme Court held

that the use of trained police dogs to investigate a home and its surrounding area

amounts to a search under the Fourth Amendment, requiring a warrant. Id. at 1417.

Nothing in Jardines, however, suggests that i f law enforcement obtains a warrant to

use a drug dog (or other "sniffing" tool) in the first instance, that they will be

required to obtain a second warrant if the dog (or other "sniffing" tool) locates the

target of the search.     In the present case, unlike Jardines, the agents properly

obtained a warrant prior to embarking on their "sniffing" activities. Having

located the suspect device, and armed with a warrant specifically authorizing them

to seize the device, the agents acted appropriately and with authority.

                  2. The things to be seized

         The warrant provides as follows with respect to the property or things to be

seized:

         1. A wireless device containing the Medial [sic] Access Control
            (MAC) address "68:a3:c4:e2:6a:7e";

         2. Electronic data processing and storage devices;
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 3. Computers and computer systems, intemal and peripheral storage
    devices such as fixed disks, extemal hard disks, floppy disk drives
    and disks, tape drives and tapes, optical storage devices, CD's,
    DVD's or other memory storage devices;

 4. Peripheral input/output devices such as keyboards, printers, video
    display monitors, optical readers, and related communications
    devices such as modems;

 5. Backup media;

 6. System documentation;

 7. Software and instruction manuals;

 8. Image files, either printed or electronic, that constitute evidence of
    a violation of O.C.G.A. 16-12-100(b)(8), possession of child
    pomography;

 9. Movie fdes, that constitute evidence of a violation of O.C.G.A. 16-
    12-100(b)(8), possession of child pomography;

 10. A l l of the above records whether stored on paper, on magnetic
    media such as tape, cassette, disk, CD, DVD or on memory storage
    devices such as optical disks, programmable instruments such as
    telephones, "electronic calendar/address books" calculators,
    wristwatches, personal communication service (PCS) devices, or
    any other storage media together with indicia of use, ownership,
    possession or control of such records;

 11. Books, magazines, articles, newspapers, photographs, negatives,
     slides, movies, albums, drawings, audiotapes, personal letters,
     diaries, paintings, photographic equipment, etc., that would tend to
     show contact with minors or would constitute evidence of a
     violation of O.C.G.A. 16-12-100(b)(8) possession of child
     pomography;

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      12. Cellular telephones which can now be used to take, and transmit
         image files and movie fdes as well as text messaging, that
         constitute evidence of a violation of O.C.G.A. 16-12-100(b)(5),
         possession of child pomography.

      13. Digital communications, printed or electronic, such as text
         messages, instant messages, e-mails, chats, that constitute evidence
         of a violation of O.C.G.A. 16- 12-100(bX8), possession of child
         pomography.

      Which is (name the law being violated) in violation of:

             O.C.G.A. 16-12-100: Sexual Exploitation of Children

             O.C.G.A. 16-12-100 (b)(8): Possession of Child Pomography

             O.C.G.A. 16-1-100 (b)(5): Distribution of Child Pomography

(Doc. 33-1 at 1-2).

      The Eleventh Circuit instructs that the particularity requirement with respect

to items to be seized "be applied with a practical margin of flexibility, depending

on the type of property to be seized, and that a description of property will be

acceptable i f it is as specific as the circumstances and nature of activity under

investigation permit." United States v. Wuagneux, 683 F.2d 1343, 1349 ( l l t h Cir.

1982) (citations omitted). Defendant argues that the things to be seized were not

described with sufficient particularity because, other than the one mobile device

identified by MAC address, the categories of items—such as backup media.




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software, images, records, telephones, etc.—were overly broad and were not

limited in any way. (Doc. 39 at 2). I disagree.

      By explicitly limiting the scope of what may be searched and seized to

evidence of the crimes under investigation (Georgia statutes conceming child

pomography and sexual exploitation of children), the warrant was sufficiently

particular to enable the searcher to reasonably ascertain and identify the property

authorized to be seized. See Signature Pharmacy, Inc. v. Wright, 438 F. App'x

741, 745-46 ( l l t h Cir. 2011) (per curiam) (unpublished) (holding that the items to

be seized were described with sufficient particularity where the items were limited

by the specific crimes under investigation and stating "[b]ecause the descriptions in

the warrants refer to items that are evidence of a violation of certain statutes

relating to the sale of controlled substances, the items were described with

sufficient particularity to allow Wright, a seasoned law enforcement officer, to

identify the things to be seized"); United States v. Harvev. No. 1:15-cr-00053-

TWT-RGV, 2015 WL 9685908, at *13 (N.D. Ga. Nov. 30, 2015), adopted by 2016

WL 109984, at *1 (N.D. Ga. Jan. 8, 2016) (concluding that a search warrant for a

cell phone was sufficiently particularized where the property to be seized was

limited to evidence of the crimes being investigated). The universe of property

that could be seized pursuant to the warrant at issue in this case was limited to

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evidence of illegal activities conceming sexual exploitation of minors and child

pomography. The warrant, therefore, did not permit a general exploratory search.

See United States v. Brooks, No. 3:13-cr-58-J-34JRK, 2014 WL 292194, at *11

(M.D. Fla. Jan. 27, 2014) (concluding that because the scope of the warrant was

restricted to evidence of child pomography-related crimes, it did not permit a free-

ranging search).

      B.   Good Faith Reliance on the Warrant

      The Govemment next argues, in the altemative, that even if the warrant was

invalid due to lack of particularity, the good faith exception to the exclusionary

rule would validate this warrant. In United States v. Leon, the Supreme Court held

that the Fourth Amendment exclusionary rule should not be applied so as to

exclude evidence obtained by officers acting in reasonable reliance on an invalid

search warrant issued by a detached and neutral magistrate. 468 U.S. 897, 922

(1984). This is known as the good-faith exception to the exclusionary rule and

applies when law enforcement officers executing the warrant act "in the

objectively reasonable belief that their conduct does not violate the Fourth

Amendment."        Id. at 918.   The Eleventh Circuit has recognized only four

circumstances that prevent the use of the good-faith exception:

      (1) where the magistrate or judge in issuing a warrant was misled by
      information in an affidavit that the affiant Imew was false or would
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         have known was false except for his reckless disregard of the truth;
         (2) where the issuing magistrate wholly abandoned his judicial
         role . . . ; (3) where the affidavit supporting the warrant is so lacking
         in indicia of probable cause as to render official belief in its existence
         entirely unreasonable; and (4) where, depending upon the
         circumstances of the particular case, a warrant is so facially
         deficient—i.e., in failing to particularize the place to be searched or
         the things to be seized^—^that the executing officers cannot reasonably
         presume it to be valid.

United States v. Martin, 297 F.3d 1308, 1313 ( l l t h Cir. 2002) (intemal citations

and quotation marks omitted).             Here, Defendant argues that the fourth

circumstance applies, Le., that the warrant was so facially deficient that no officer

could reasonably presume it to be valid. (Doc. 42 at 7). This argument lacks

merit.

         In this case, it is evident that the good faith exception under Leon applies.

None ofthe circumstances that might make an officer's reliance unreasonable are

presented here. There is no evidence that the affidavit in this case was recklessly

or deliberately false. There is no evidence that the affidavit was "so lacking in

indicia of probable cause as to render official belief in its existence entirely

unreasonable," or that the warrant was "so facially deficient that an officer could

not reasonably presume it to be valid." Finally there is certainly no evidence that

the issuing judge wholly abandoned his or her judicial role in issuing the warrant.




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See Leon, 468 U.S. at 923; see also United States v. Taxacher, 902 F.2d 867, 871

( l l t h Cir. 1990).

        As the Govemment points out in its brief, the search warrant, when taken

together with the detailed supporting affidavit, particularly described the place to

be searched (the Rollins Building), the manner that the search was to be conducted

(using the non-invasive sniffer), and the purpose of the search (to locate the very

specifically-described suspect device and other evidence of child pomography).

As noted above, the warrant adequately described the items to be seized, beginning

with the suspect device (described precisely by MAC address) and then moving on

to items that could be related depending on where the suspect device was located—

with the underpinning requirement that the electronic devices contained or could

contain evidence of child pomography.        See Rousseau, 628 F. App'x at 1026.

Moreover, Agent Thomas testified that because the sniffer was new to her, she

consulted with counsel from Homeland Security and Emory University, sent them

the search warrant to review, and relied on their assessment that the warrant was

legally sufficient. Given the level of detail in the affidavit, the precision of the

police work involved, and the caution with which Agent Thomas proceeded, it

cannot be said that an executing officer could not reasonably have presumed the




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warrant to be valid. Thus, even i f the warrant were invalid, the motion to suppress

should still be denied based on the good faith exception to the exclusionary rule.

                                 III.      CONCLUSION

      I T IS H E R E B Y O R D E R E D that Defendant's Motion for Bill of Particulars

and for Further Rule 16 Discovery and Brady Information (Doc. 27) is DENIED

AS MOOT.

      I T IS RECOMMENDED that Defendant's Motion to Suppress and

Supplemental Motion to Suppress (Docs. 26, 33) be DENIED.

      I have now addressed all referred pretrial matters and have not been advised

of any impediments to the scheduling of a trial. Accordingly, this case is

C E R T I F I E D R E A D Y F O R TRIAL.

      I T IS SO ORDERED, R E P O R T E D , AND RECOMMENDED this 25th

day of May, 2016.




                                           CATHERINE M . SALINAS
                                           United States Magistrate Judge




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